                         UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF LOUISIANA

MCARTHUR GRIFFIN                                 §
                                                 §
       Plaintiff                                 §
                                                 § CIVIL ACTION NO.: 3:20-92-BAJ-EWD
                                                 §
       Versus                                    §
                                                 §
REC MARINE LOGISTICS LLC, ET AL.                 § TRIAL BY JURY DEMANDED
                                                 §
       Defendants                                §


     PLAINTIFF’S RESPONSE TO MOTION FOR LEAVE TO AMEND ANSWER


       Plaintiff, McArthur Griffin, respectfully opposes the very late and misguided efforts of the

Vessel Defendants to amend their Answer to assert an inapplicable defense.1           The Vessel

Defendants’ Motion for Leave to Amend Answer to assert the inapplicable McCorpen defense

should be denied.2

                                       I.    EXHIBITS

       Exhibit 1              Plaintiff’s Original Petition

       Exhibit 2              Ex-Parte Motion for Thirty Day Extension for Response

       Exhibit 3              REC Marine’s Statement and Motion to Dismiss

       Exhibit 4              September 23, 2019 Hearing Transcript

       Exhibit 5              Motion for Contempt and Sanctions




1
  As the Vessel Defendants have conceded that only REC Marine Logistics, LLC (“REC Marine”)
is entitled to raise the McCorpen defense, Plaintiff will limit his Response to the actions and
inaction of REC Marine.
2
  Although Vessel Defendants did not confer on the remaining proposed amendments to their
Answer, Plaintiff does not object to the amendments contained in paragraphs 2, 3, and 4 of Vessel
Defendants’ Amended Answer.
        Exhibit 6                Memorandum in Support of Motion for Contempt and for Sanctions

        Exhibit 7                Motions for Continuance

        Exhibit 8                Vessel Defendants’ Answer

        Exhibit 9                Status Report

        Exhibit 10               Ex-Parte Motion to Stay

        Exhibit 11               Scheduling Orders

        Exhibit 12               Brian Harris Deposition

                           II.     PROCEDURAL BACKGROUND

        On April 22, 2019, Plaintiff filed his Original Petition. See Exhibit 1 (Plaintiff’s Original

Petition).

        On May 17, 2019, REC Marine filed an Ex-Parte Motion for Thirty Day Extension for

Response. See Exhibit 2 (Ex-Parte Motion for Thirty Day Extension for Response).

        On May 28, 2019, instead of answering the lawsuit, REC Marine filed a baseless exception

to venue. See Exhibit 3 (REC Marine’s Statement and Motion to Dismiss).

        On September 23, 2019, Judge White denied REC Marine’s exception. See Exhibit 4 pg.

11 (“…exceptions of improper venue is – is denied.”).

        REC Marine then spent the next five months delaying hearings, not answering the lawsuit,

and not responding to discovery (including court-ordered discovery). See Exhibit 5 (Motion for

Contempt); Exhibit 6 (Motion for Sanctions); Exhibit 7 (Motions for Continuance).

        On February 17, 2020, this case was removed to this Court. See Dkt. 1. At the time of

removal, this case had been on file for 301 days and REC Marine still had not filed an answer.

        On April 29, 2020, REC Marine finally answered the lawsuit. See Exhibit 8 (Vessel

Defendants’ Answer). REC Marine chose not to raise the McCorpen defense in its answer. See

Exhibit 8 (Vessel Defendants’ Answer).


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       On May 19, 2020, REC Marine claimed they would plead the McCorpen defense and

sought to stay the case for unclear reasons. See Exhibit 9 (Status Report) and Exhibit 10 (Ex-Parte

Motion to Stay).3

       On September 9, 2020, this Court entered a scheduling order and set November 19, 2020

as the deadline for the parties to file a motion for leave to amend the pleadings. See Exhibit 11

(Scheduling Orders). The pleading deadline was not changed when the scheduling order was

modified by the Court. See Exhibit 11 (Scheduling Orders).

       On April 28, 2021 and May 12, 2021, Plaintiff filed motions to compel discovery from the

Vessel Defendants. See Dkt. 63 (Plaintiff’s Motion to Compel Discovery Responses and to Strike

the [Vessel Defendants’] McCorpen Defense) and Dkt. 67 (Amended Motion to Compel

Responses to Plaintiff’s Second Requests for Production and Second Interrogatories). Both the

initial motion to compel and amended motion to compel discussed what REC Marine already knew

—that it had not pled the McCorpen defense. See generally, Dkt. 63 and Dkt. 67. REC Marine

chose not to immediately seek leave to amend their answer to assert the McCorpen defense after

reviewing Plaintiff’s motions to compel.

       On July 7, 2021, 807 days after this lawsuit was filed (and 230 days after the pleadings

deadline), the Vessel Defendants sought leave to amend their answer. Notably, this amendment

came 70 days after REC Marine was reminded that they failed to plead the McCorpen defense.




3
  After seeking to stay this case, REC Marine chose to wait another 14 months before seeking
leave to amend their answer.


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                         III.   ARGUMENT AND AUTHORITY

       A.      STANDARDS FOR GRANTING LEAVE              TO   AMEND    AN   ANSWER AFTER       THE
               DEADLINE TO DO SO HAS PASSED

       “[T]he Fifth Circuit [has] clarified that when, as here, a scheduling order has been issued

by the district court, Rule 16(b) governs amendment of pleadings.” Royal Ins. Co. of America v.

Schubert Marine Sales, 2003 WL 21664701, at *2 (E.D. La. July 11, 2003) (Englehardt, J.) (citing

S & W Enterprises, L.L.C. v. Southtrust Bank of Ala., 315 F.3d 533, 535–36 (5th Cir. 2003)). Rule

16(b) limits changes in the deadlines set by a scheduling order “only for good cause and with the

judge's consent.” FED. R. CIV. P. 16(b)(4). To meet the good cause standard, the party must show

that, despite its diligence, it could not reasonably have met the scheduling order deadline. See S

& W Enterprises, L.L.C., 315 F.3d at 535. To determine if good cause exists as to untimely

motions to amend pleadings, the Court should consider: “(1) the movant's explanation for its failure

to timely move for leave to amend; (2) the importance of the amendment; (3) the potential

prejudice in allowing the amendment; and (4) the availability of a continuance to cure that

prejudice.” Schubert Marine Sales, 2003 WL 21664701, at *2 (citing S & W Enterprises, 315 F.3d

at 536).

       B.      REC MARINE WAS NOT DILIGENT IN SEEKING LEAVE TO AMEND ITS ANSWER

       This lawsuit was on file for eight-hundred and seven (807) days before REC Marine sought

leave to amend its answer. See Vessel Defendants’ Motion. Leave was not sought until 230 days

after the pleadings deadline expired. See Motion; compare with Exhibit 11 (Scheduling Orders).

Further, REC Marine did not seek leave to amend its answer until 70 days after it was reminded

that it failed to plead the McCorpen defense.4 See Dkt. 63.



4
  REC Marine was reminded that it had not pled the McCorpen defense a second time when
Plaintiff filed his amended motion to compel. See Dkt. 67.


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       REC Marine’s lack of diligence in seeking leave to amend its answer is readily apparent.

       C.       LEAVE SHOULD BE DENIED BECAUSE REC MARINE CANNOT SHOW GOOD
                CAUSE FOR FAILURE TO MEET THE SCHEDULING ORDER DEADLINE

                1.     REC Marine’s Fails to Timely Move to Amend its Answer

       REC Marine claims that its failure to raise the McCorpen defense was a mere oversight.

See Motion at p. 5. REC Marine appears to ignore all the opportunities it had to raise the defense

and the fact that Plaintiff reminded it twice that the McCorpen defense had not been pled:5

            •   REC Marine waited more than a year to file an answer in this case. See Exhibit 8
                (Vessel Defendants’ Answer).
            •   REC Marine did not assert the McCorpen defense in their answer. See Exhibit 8
                (Vessel Defendants’ Answer).
            •   REC Marine was reminded that they still had not pled the McCorpen defense. See
                Dkt. 63 (Plaintiff’s Motion to Compel Discovery Responses and to Strike the
                [Vessel Defendants’] McCorpen Defense) and Dkt. 67 (Amended Motion to
                Compel Responses to Plaintiff’s Second Requests for Production and Second
                Interrogatories).
            •   REC Marine then waited an additional 70 days to seek leave to file an amended
                answer. See Motion.

       REC Marine explanation for why it did not seek leave to amend its answer until 230 days

past the pleadings deadline is not convincing. Moreover, REC Marine provides no reason to

explain why it waited 70 days to seek leave to amend its answer after being reminded twice by

Plaintiff that the McCorpen defense had not been pled.

       Given REC Marine’s unjustified delay, this factor weighs heavily in favor of denying leave

to amend.

                2.     The Importance of the Amendment

       Defendant claims that amending its answer to include the McCorpen defense is important

because it is “pleaded in nearly every Jones Act case in which a seaman is asserting entitlement to



5
 This list is by no means exhaustive. REC Marine has had several hundred days (and, therefore,
several hundred opportunities) to seek leave to amend its answer.


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maintenance and cure benefits.” See Vessel Defendants’ Motion at p. 5. Logically, the McCorpen

defense is not pled when it does not apply.6

       For REC Marine to prevail on a McCorpen defense it must prove, inter alia, the non-

disclosed facts were material to the employer's decision to hire the Plaintiff. Brown v. Parker

Drilling Offshore Corp., 410 F.3d 166, 171 (5th Cir. 2005). At the time of the Incident, Plaintiff

worked for REC Marine. However, REC Marine admits that it did not hire Plaintiff:

       21· · · ·Q· · Were these workers hired or were they just
       22· ·kind of transferred?· Do you understand?
       23· · · ·A· · Wouldn't it be kind of the same thing?
       24· · · ·Q· · I don't know.· It's, like, if you worked for
       25· ·McDonald's and then try to get a job with Burger King.
        1· · · ·A· · It's a little bit different.· They didn't
       ·2· ·merge.
       ·3· · · ·Q· · Right.· So the --
        4· · · ·A· · I think it would be more of a transfer.

See Exhibit 12 at 95:21-96:4 (Brian Harris Deposition). Since REC Marine did not hire Plaintiff,

its McCorpen defense fails. While the McCorpen defense may be important in other cases, it does

not apply to the facts of this case and, therefore, is not important.

       Given the unimportance of the amendment, this factor weighs heavily in favor of denying

leave to amend.

               3.      The Potential Prejudice in Allowing the Amendment

       Allowing REC Marine to amend its answer to raise an inapplicable affirmative defense is

prejudicial. Plaintiff will be forced to conduct additional discovery (which is likely to be resisted

by REC Marine as all other discovery has been and/or require an order from the Court compelling


6
  The Court can address the applicability of the unpled McCorpen defense at this stage. Hosp.
Serv. Dist. No. 1, of Avoyelles Par. v. Louisiana Dep't of Health & Human Res., 1988 WL 24145,
at *2 (E.D. La. Mar. 4, 1988) (“Because the Court finds the defense to be inapplicable in any event
in this action, the Court chooses not wait for defendants to amend their answer in order for the
Court to address the defense; for purpose of this Order and Reasons, the Court treats the answer
as if it did contain the defense.”).


                                                 -6-
the discovery) and file a motion for summary judgment on this issue. Given the inapplicability of

the McCorpen defense in this case, this sort of motion practice is unnecessary and prejudicial to

Plaintiff.

        Further, the deadlines and trial setting for this case may need to be modified again if the

Vessel Defendants are permitted to amend their answer. As previously briefed, REC Marine

and/or other Vessel Defendants spent more than a year delaying and obstructing the prosecution

of this case. See Dkt. 15 (Plaintiff’s Motion to Enforce, Compel Discovery, Sanctions for

Violating Court Orders). Additional delay premised on amending an answer to include an

inapplicable defense is prejudicial.

        This factor weighs heavily in denying the amendment.

               4.      The Availability of a Continuance to Cure Prejudice

        The McCorpen defense is not applicable under the facts of this case.           As such, a

continuance cannot cure the prejudice (and would have the effect of enhancing the prejudice to

Plaintiff).

        Moreover, such an extension would cause undue delay and may require the Court to reset

the current trial. Such disruption to the Court’s docket is unwarranted. In Reliance Insurance

Company v. Louisiana Land & Exploration Company, 110 F.3d 253, 258 (5th Cir.1997), the Fifth

Circuit stated: “District judges have the power to control their dockets by refusing to give

ineffective litigants a second chance to develop their case.” In Guillory v. Domtar Industries Inc.,

95 F.3d 1320, 1332 (5th Cir.1996), the Fifth Circuit held: “It is well established that the district

court is entitled the [sic] manage its court room and docket.” In Freeman v. Continental Gin

Company, 381 F.2d 459, 469 (5th Cir.1967), the Fifth Circuit stated that: “A busy district court

need not allow itself to be imposed upon by the presentation of theories seriatim.”

        The fourth factor also weighs against this court's granting REC Marine’s leave to amend.


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                            IV.     CONCLUSION AND PRAYER

        As Vessel Defendants have failed to show good cause to modify the scheduling order

pursuant to Federal Rule of Civil Procedure 16(b), its motion for leave to amend its answer to

assert the inapplicable McCorpen defense should therefore be denied. Plaintiff respectfully

requests that the Court deny Vessel Defendants Motion for Leave to Amend Answer and for any

other relief Plaintiff may be justly entitled.



                                                         Respectfully submitted,

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                                      Certificate of Service
I hereby certify that on July 28, 2021 I electronically filed the foregoing with the Clerk of Court
by using the CM/ECF filing system. Notice of this filing will be sent to counsel for all parties by
operation of the Court’s electronic filing system.
                                      /s/Daniel E. Sheppard
                                      Daniel E. Sheppard




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